 Case 2:90-cv-00520-KJM-SCR                Document 7835         Filed 05/12/23       Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

                                   OFFICE OF THE CLERK
                                        501 "I" Street
                                    Sacramento, CA 95814


RALPH COLEMAN, ET AL.,
        Plaintiff

   v.                                                    CASE NO. 2:90−CV−00520−KJM−DB

J. CLARK KELSO, ET AL.,
         Defendant




        You are hereby notified that a Notice of Appeal was filed on May 11, 2023
   in the above entitled case. Enclosed is a copy of the Notice of Appeal, pursuant
   to FRAP 3(d).



 May 12, 2023

                                       KEITH HOLLAND
                                       CLERK OF COURT

                                   by: /s/ K. Yin
                                       Deputy Clerk
